Case 2:17-cr-20183-MAG-RSW ECF No. 343 filed 09/18/19 PagelD.1517 Page1of21

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,

vs. Case No. 17-cr-20183
Hon. Mark A. Goldsmith

HAROLD LASHAWN NERO (D-5),

Defendant.

 

DEFENDANT NERO’S MOTION TO SUPPRESS STATEMENTS
Defendant Harold Nero moves this Honorable Court to suppress his

statements because they were not made voluntarily, knowingly, or intelligently, in

violation of Miranda v. Arizona, 384 U.S. 436, 444, 86 S.Ct. 1602, 16 L.Ed.2d 694
(1966), and for an evidentiary hearing, for the reasons in the following brief.

Respectfully submitted,
Date: September 18. 2019

By: /s/Mark_H. Magidson
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Page | of 11
Case 2:17-cr-20183-MAG-RSW ECF No. 343 filed 09/18/19 PagelD.1518 Page 2 of 21

Statement Regarding Concurrence

I certify and affirm that pursuant to E.D. Mich. LR 7.1(a)(2)(A), defense
counsel sought concurrence in this motion and discovery request but did not obtain

concurrence in the relief sought. E.d. Mich. LR 37.1, LR 372.

By: /s/Mark H. Magidson
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BRIEF IN SUPPORT OF
DEFENDANT NERO’S MOTION TO SUPPRESS STATEMENTS

FACTS
Defendant Nero is charged in the Superseding Indictment (Doc. 98) with the

following offenses: sex trafficking conspiracy, contrary to 18 U.S.C. § 1594(c); sex
trafficking by force, fraud and coercion, aiding and abetting, contrary to 18 U.S.C.
§ 1591(a) & (b), and 18 U.S.C. § 2; conspiracy to distribute a controlled substance,
contrary to 21 U.S.C. §§ 846, 841(a)(1), 841(b)(1 (A), 841(b)(1)(C); and,
maintaining drug-involved premises, aiding and abetting, contrary to 21 U.S.C. §

856(a)(1), and 18 USC § 2.

Page 2 of 11
Case 2:17-cr-20183-MAG-RSW ECF No. 343 filed 09/18/19 PagelD.1519 Page 3of 21

The government obtained a search warrant on January 9, 2017 to search the
Victory Inn (“Inn”) hotel. The government raided the Inn on January 12, 2017, and
that same day, they arrested Nero at a residence on Holmes street, in Detroit.

The government interviewed Nero, who made statements that were video
recorded. Nero was intoxicated during the interview, having smoked crack cocaine
just prior to his arrest and the entire night before the arrest. Nero appeared “high”,
and made and made strange facial expressions. Prior to being recorded, he was
advised that if he cooperated by giving a statement, the U.S. Attorney would look
favorably toward him regarding whether to charge him. Because of the effects of
the drugs, he believed that if he talked to the agents, he would not be charged. Nero
informed the agents that he has high and under the influence of crack cocaine.

According to Nero, the government agents told him they were going to
administer a drug test and required him to urinate into a container designed for
obtaining urine samples. He complied with that request and did in fact urinate into
the container. (See Exhibit A, Verified Statement of Harold Nero, attached hereto).

Nero’s statements were not made voluntarily, knowingly, or intelligently.

ARGUMENT

The fact of police custody triggers a number of rights, including the right to

counsel. Miranda vy. Arizona, 384 U.S. 436, 444, 86 S.Ct. 1602, 16 L.Ed.2d 694

(1966).

Page 3 of 11
Case 2:17-cr-20183-MAG-RSW ECF No. 343 filed 09/18/19 PagelD.1520 Page 4of 21

In order to validly waive Miranda rights, the waiver must be voluntary,

knowing, and intelligent. The Supreme Court has articulated a test to determine the

validity of a waiver of Miranda rights:

First, the relinquishment of the right must have been voluntary in the sense
that it was the product of a free and deliberate choice rather than
intimidation, coercion, or deception. Second, the waiver must have been
made with a full awareness of both the nature of the right being abandoned
and the consequences of the decision to abandon it. Only if the "totality of
the circumstances surrounding the interrogation" reveals both an uncoerced
choice and the requisite level of comprehension may a court properly
conclude that the Miranda rights have been waived.
[Moran v. Burbine, 475 U.S. 412, 421, 106 S. Ct. 1135, 89 L. Ed. 2d 410
(1986). ]
It is the government's burden to prove the waiver was voluntary, knowing,
and intelligent by a preponderance of the evidence. Colorado v. Connelly, 479 U.S.

157, 168, 107 S. Ct. 515, 93 L. Ed. 2d 473 (1986).

In determining whether a defendant voluntarily waived his Miranda rights, a
court considers factors such as: (i) police coercion; (11) the length of the
interrogation; (iil) the location of the interrogation; (iv) the continuity of the
interrogation; (v) the suspect's maturity; (vi) the suspect's education; (vil) the
suspect's physical condition and mental health; and (viii) whether the suspect was
advised of his Miranda rights. Withrow v. Williams, 507 U.S. 680, 693-94, 113 S.
Ct. 1745, 123 L. Ed. 2d 407 (1993); see also Colorado v. Spring, 479 U.S. 564,
574, 107 S. Ct. 851, 93 L. Ed. 2d 954 (1987); United States v. Wiley, 132 F. App'x

635, 638 (6th Cir. 2005).

Page 4 of 11
Case 2:17-cr-20183-MAG-RSW ECF No. 343 filed 09/18/19 PagelD.1521 Page 5of 21

"When the interrogating officers reasonably should have known that a
suspect is under the influence of drugs or alcohol, a lesser quantum of coercion
may be sufficient to call into question the voluntariness of the confession." United
States v Haddon, 927 F2d 942, 946 (7th Cir. 1991); United States v Sablotny, 21
F3d 747, 751-52 (7th Cir. 1994).

Sleeplessness, alcohol use and drug use are relevant to the knowing and
voluntary analysis, but "[i]ntoxication and fatigue do not automatically render a
confession involuntary" without some level of police coercion. United States v.
Casal, 915 F.2d 1225, 1229 (8th Cir. 1990). The test is “whether these mental
impairments caused the defendant's will to be overborne." /d.

A waiver is knowing and intelligent if the totality of the circumstances show
that Defendant understood his rights and the consequences of waiving those rights.
Clark v. Mitchell, 425 F.3d 270, 284 (6th Cir. 2005). Officers may only question a
suspect who is intoxicated or impaired as long as the suspect was not so impaired
that his will was overborne. United States v. Gaddy, 532 F.3d 783, 788 (8th Cir.
2008).

On January 12, 2017, the police entered the Holmes street residence and
arrested Nero. He along with other were restrained with “zip ties” and were not

free to leave. He was in custody for Miranda purposes.

Page 5 of 11
Case 2:17-cr-20183-MAG-RSW ECF No. 343 filed 09/18/19 PagelD.1522 Page 6of 21

Thereafter, the government interrogated Nero, asking incriminating
questions intended to elicit incriminating answers to be used in his later
prosecution.

Nero has suffered from drug addiction for over 25 years, having been in and
out of rehab over that length of time. Prior to the January 12, 2017 he had relapsed
and had been using steadily for over 10 months. His drug of choice is crack
cocaine. The life of a crack addicted person consists of “hustling” to raise the funds
to purchase rocks of cocaine, then tracking down the dealer and then smoking until
it is gone and then starting all over again. Days and nights blend together. He was
regularly sleep deprived because cocaine is a stimulant. However, in rock form, the
high is immediate but begins to wear off and then more is continually needed to
maintain the manic feeling that cocaine produces. His association with the Victory
Inn consisted of him trying to procure drugs there and hustling customers of the
motel. Just before being arrested and interrogated in custody, Nero had ingested a
large amount of crack cocaine making him delusional and irrational, and as a result
he did not make a knowing and intelligent waiver of his Miranda rights.

Nero was objectively high on cocaine. Moreover he advised the agents that
he had been smoking all night, and it was apparent to the federal agents
interrogating him that he might be under the influence of something, because they

requested that he give a urine same just following the interrogation.

Page 6 of 11
Case 2:17-cr-20183-MAG-RSW ECF No. 343 filed 09/18/19 PagelD.1523 Page 7 of 21

“Cocaine is an addictive drug that produces numerous psychiatric
symptoms, syndromes, and disorders. The symptoms include agitation, paranoia,
hallucinations, delusions, violence, as well as suicidal and homicidal
thinking.” (Exhibit A - Cocaine and Psychiatric Symptoms, W. Alexander Morton,
Pharm.D., B.C.P.P., Prim Care Companion J Clin Psychiatry, 1999 Aug; 1(4): 109—
113).!

The government read him his Miranda rights, but Nero did not voluntarily
waive them. Nero did not understand his Miranda rights and the effect of waiving
them because of his intoxication and impairment.

The government raided his residence early in the day, handcuffed him, and
questioned him in an interrogation room (the kitchen). Even that level of police
conduct was enough to overcome Nero’s deeply impaired will. Not only was Nero
in the midst of a crack cocaine high, he was also addled from years of drug abuse.
And the government knew that this case involved defendants like Nero who were

heavy drug users.

According to his statement, he spent the night on Holmes Street with the
mother if his child and Kelly Spoor who owned or rented the Holmes house. They

started off smoking 5 or 6 rocks that they received from “Mike” and when that ran

out, Nero was able to “score” another 10-15 rocks from his supplier, and then fell
! available at web address: https://www.ncbi.nlm.nih.gov/pme/articles/PMC181074/.

Page 7 of 11
Case 2:17-cr-20183-MAG-RSW ECF No. 343 filed 09/18/19 PagelD.1524 Page 8 of 21

into restive sleep at 4:30 only to be awakened by a call alerting them that the
Victory had been raided. This prompted Nero to smoke a “push” that was still in
the pipe and later that morning about 8:00 a.m. John Houston, another supplier
came by with more rocks which where promptly smoked. Mr. Nero then was
seeking additional crack and went outside about 9:00 a.m. to meet yet another
provider when the agents executed their raid and brought him back into the house,
“zip tying” him. (See Statement of Nero attached)

Mr. Nero described the effects of the cocaine: ...““my mind was racing and
my thinking was not clear, the effects of cocaine made me paranoid, believing |
had to talk to the police.” (Par.15) He describes the effects of cocaine as being a
stimulant and that he was up all night with racing thoughts. (Par. 17). He stated that
his thinking was delusional. “thinking that if I just “explained” to {the agents},
they would let me go.” (Par. 18). He believes that if it were not for his delusional
thinking brought on by the drugs, he would not have talked to the police. (Par 21).
He falsely believed representations of leniency.

This is not a case like United States v Gaddy, 532 F3d 783 (8th Cir. 2008),
where the government did not know that the defendant was intoxicated and there
was no evidence that the defendant was intoxicated. In Gaddv, the federal agents
testified that the defendant appeared awake and coherent, and he did not say he
was tired, intoxicated, or under the influence of drugs. /d. at 788. The defendant

acknowledged that he understood his Miranda rights, and that he wanted to make a

Page 8 of 11
Case 2:17-cr-20183-MAG-RSW ECF No. 343 filed 09/18/19 PagelD.1525 Page 9of 21

statement. /d. The defendant looked "calm, fairly quiet" and was "very compliant,"
and when asked, said he wanted to talk to the agent. /d. at 789.

In this case, the government knew Nero was seriously intoxicated, making
bizarre statements disjointed from the subject of the interrogation. At a minimum,
the government should have known Nero was intoxicated. The recorded
interrogation shows Nero’s intoxicated behavior, and the government did not have
sufficient reason to rely on his waiver of rights, or to presume he knowingly

waived his rights.

Defendant’s Right to an Evidentiary Hearing and Reports.

The right to a separate evidentiary hearing when an attack on the
admissibility of evidence is made on constitutional grounds was established by the
U.S. Supreme Court in Jackson v Denno, 378 US 368, 380, 994; 84 SCt 1774; 12
LEd2d 908 (1964): “A defendant objecting to the admission of a confession is

entitled to a fair hearing in which both the underlying factual issues and the
voluntariness of his confession are actually and reliably determined.”

As Nero indicated in his statement, he was asked by the agents to urinate
into a container designed for that purpose. He was told they were going to test him
for drugs. Defendant sought to obtain these results from the Government, but was

ignored and thereafter sought to get the test results, if any, by filing a motion,

Page 9 of 1]
Case 2:17-cr-20183-MAG-RSW ECF No. 343 filed 09/18/19 PagelD.1526 Page 10 of 21

however, that motion was not granted. He is requesting that the Government
produce the results of the drug test, 1f done.

In this case, Nero moves to suppress hi statements on constitutional grounds,
under the Fifth Amendment, and therefore, he is entitled to an evidentiary hearing.
He is also entitled to be provided the results of any drug test taken at or near the

time of the interrogation.

WHEREFORE, Defendant Nero (D-5) moves this Honorable Court to
suppress his involuntary and unknowing statements and for an evidentiary hearing

requiring the presence of the interrogating officers and production of the drug test
results, testing protocols, and chain of evidence.

Respectfully submitted,
Date: September, 2019

By: /s/Mark H. Magidson
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Page 10 of 11
Case 2:17-cr-20183-MAG-RSW ECF No. 343 filed 09/18/19 PagelD.1527 Page 11 of 21

CERTIFICATE OF SERVICE

I certify that on September 18, 2019, I electronically filed the above Motion
with the Clerk of the Court using the CM/ECF system, which will send notification
of such filing to the parties of record.

By: /s/Mark H. Magidson
MARK H. MAGIDSON (P25581)

Attorney for Defendant Nero (D-5)

Page 11 of 11
Case 2:17-cr-20183-MAG-RSW ECF No. 343 filed 09/18/19 PagelD.1528 Page 12 of 21

Exhibit
Case 2:17-cr-20183-MAG-RSW ECF No. 343 filed 09/18/19 PagelD.1529 Page 13 of 21

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,
Plaintiff,

-VS- Case No.
Hon. Mark Goldsmith

HAROLD NERO,
Defendant

 

VERIFIED STATEMENT OF HAROLD NERO
Harold Nero hereby makes the following verified statement in support of his
Motion to Suppress Statement:

1. 1am the Defendant in the above captioned case and the facts contained in this
Statement are based upon my personal knowledge and observations and if
called to testify | would testify to the same.

2. | was arrested in this matter on January 12, 2017 at approximately Nine or Ten
O’clock in the morning.

3. | was initially arrested in a private home located on 7711 Holmes Street, which
was owned or rented by Kelly Spoor, who | called “Ma” or “Ma Kelly” because
she took care of persons who suffered from addiction including addiction to
crack cocaine or heroin and allowed persons without a permanent address to
stay at her house for short stays.

4. {had spent the night there with her along with other people including
Chestenea Jennings, the mother of my child, but during the night and early

morning hours, people would be coming and going.

 
Case 2:17-cr-20183-MAG-RSW ECF No. 343 filed 09/18/19 PagelD.1530 Page 14 of 21

10.

11.

12.

13

14.

. During the night | used crack cocaine, smoking about 5 or 6 rocks of cocaine

with Kelly who had gotten the rocks from “Mike.”

. When Mike’s dope ran out, | called another contact for my own additional

drugs, and that was dropped off at around 2:30 a.m.

| was supplied about another 10-15 rocks from my supplier.

| proceeded to smoke that until about 4:00 a.m.

At about 4:30 a.m., | fell into a partial sleep, exhausted from smoking, but at
around 5:00 a.m., Ma Kelly got a call from someone who told her the Victory
was being raided.

After she got that call, | needed to smoke but we had smoked up everything
that night, however, | still had a “push” in the pipe that was left over from
smoking all night, and | was able to smoke that.

| started making calls to get more rocks.

Later John Houston came over about 8:00 or 8:30 with additional rocks and |

smoked those additional rocks of cocaine, but still wanted more.

.Around 9:00 a.m., at the approximate time of the raid on the Holmes Street

house, | was outside waiting for my contact to bring me more rocks, when the
police rolled up, forced me back into the house, zip tied everyone in the house
and about 30 minutes later a person in slacks and shirt and tie delivered a
search warrant.

Shortly after that the police stated | had to be interrogated and they did so in

Ma Kelly’s kitchen.
Case 2:17-cr-20183-MAG-RSW ECF No. 343 filed 09/18/19 PagelD.1531 Page 15 of 21

15.

16.

17.

18.

19.

20.

21

22.

| was high and still feeling the effects of the cocaine; my mind was racing and
my thinking was not clear, the effects of the cocaine made me paranoid,
believing that | had to talk to the police.

| told the police | was high and smoking all night.

| had been up basically all night and my mind was racing; one of the effects of
cocaine is that being a stimulant, it forces you to stay awake with racing
thoughts.

My thinking was also delusional thinking that if | just “explained” to them what
was going on, they would let me go.

| have suffered from a crack cocaine addiction for over 25 years and have been
in and out of rehab, specifically at Share House on East Grand Blvd. in Detroit.
At the time of my arrest on Holmes Street | had been back to smoking crack
cocaine for about 10 months and after relapsing | spent the majority of my

time either smoking crack or looking to score more rocks.

.As this Court knows, this is not my first arrest, a fact | am not proud of, but

based upon my prior experiences | believe that had | not been so high, which
caused me to be delusional in my thinking; | would not have talked to the
police.

After the interrogation the police told me to urinate in a jar that was designed
for urine specimens because they wanted to verify if | was high on cocaine.

| HAVE READ THE FORGOING FACTUAL STATEMENTS AND THE SAME ARE TRUE TO
THE BEST OF MY KNOWLEDGE, INFORMATION AND ae
/

Dated: 4 i /9 a ‘a \ SAA \ v
HAROLD NERO

 

 
Case 2:17-cr-20183-MAG-RSW ECF No. 343 filed 09/18/19 PagelD.1532 Page 16 of 21

Exhibit

B
Case 2:17-cr-20183-MAG-RSW ECF No. 343 filed 09/18/19 PagelD.1533 Page 17 of 21

Cocaine and Psychiatric Symptoms

W. Alexander Morton, Pharm.D., B.C.PP.

 

Background: Cocaine is an addictive drug
that produces numerous psy chiatric symptoms, syn-
dromes, and disorders. The symptoms include agita-
tion, paranoia, hallucinations. delusions. violence.
as Well as suicidal and homicidal thinking. They
can be primary to the drug’s effect or secondary to
exacerbation of comorbid psychiatric disorders.

Data Sources: A computerized literature search
was conducted using MEDLINE to identify reports
of psychiatric symptoms secondary to cocaine use.
Additional reports were found via bibliographies of
various published reports.

Data Synthesis: The use of cocaine in the
“crack” form is often associated with more frequent
and intense symptoms. Paranoia occurs in 68% to
84% of patients using cocaine. Cocaine-related vio-
lent behaviors occur in as many as 55% of patients
with cocaine-induced psychiatric symptoms. Homi-
cide has also been associated with cocaine use in as
many as 31% of homicide victims. In suicide, co-
caine has been found to be present in as high as
18% to 22% of cases. Many patients with cocaine
dependence have also been found to have a comor-
bid psychiatric disorder.

Conclusion: Cocaine can produce a spectrum
of psychiatric symptoms with which primary care
practitioners need to be familiar. Comorbid psy-
chiatric disorders are frequent in patients with co-
caine use disorders and can worsen with cocaine
use. Nonaddictive medication may be necessary
lo treat comorbid conditions such as anxiety and
depressive disorders. Primary care practitioners
need to be familiar with the treatment programs
for patients with cocaine use disorders so appropri-
ate referral can easily take place and follow -up care
can be understood and maintained.

(Primary Care Companion J Clin Psychiatry 1999/1 109-113;

 

Received June 21, 1999; accepted July 8, 1999. Brom the College of
Pharmacy and the Department of Psychiatry and Behavioral Sciences,
Medical University of South Carolina, Charleston.

Reprint requests to; W. Alexander Morton, PharanD., BOPP, MUSC
dnstinue of Psychiatry, 67 President St.. PO. Box 250801, Charleston, SC
29425 (e-mail: mortona@ musc.edu).

he likelihood is high that primary care practitioners

Will encounter patients with substance use prob-
lems, as these disorders are not rare. In the United States,
there is currently an 11.3% incidence of substance use
disorders and a 26.6% chance that an individual will de-
velop one during his or her lifetime.’ Cocaine is a fre-
quently used substance that currently causes numerous

Primary Care Companion J Clin Psychiatry 1:4, August 1999

problems in our health care programs and society. Chemi-
cal dependence to cocaine is a psychiatric. psychological,
and biological disorder that affects almost all areas of a
person's life. Cocaine has the potential to produce a spec-
trum of psychiatric symptoms and exacerbate many men-
tal disorders.

OVERVIEW

A computerized literature search was conducted using
MEDLINE to identify reports of psychiatric symptoms
secondary to cocaine use. Additional reports were located
by reviewing the bibliographies of the reports found in the
initial search. This article reviews some of the more fre-
quent symptoms, offers an explanation for their presence,
and discusses possible treatments of the symptoms as well
as the addiction.

“Crack” and Cocaine

Cocaine Is one of the most addictive substances used in
today’s society, Most medical practitioners know “crack”
is connected to cocaine. but few clinicians know exactly
What crack is. Crack is cocaine (cocaine base). bul not in
the powder form. The powder form (cocaine hydrochlo-
ride) is usually “snorted” intranasally, producing a “high”
of less intensity. A high temperature (195°C) is required to
Vaporize cocaine hydrochloride powder for smoking. The
powder has a slower onset of action to produce the eu-
pPhoric effects compared with crack, which is a solid
formed by mixing cocaine powder with water and baking
soda. This transformation makes crack a drug that is
easier and more economical to market and. consequently,
much less expensive.

Crack is in a form that allows it to be vaporized al a
much lower temperature (98°C), without burning and de-
stroying excess cocaine. Getting cocaine into a vapor
form or smoke is important to cocaine users for 2 reasons,
The first is that. when smoked, the drug is delivered
through the lungs to the brain almost immediately. It then
causes release of brain chemicals in the pleasure centers
of the brain. resulting in the desired stimulating, euphoric
effects. The second reason is that the crack form does not
waste cocaine by burning it up.

Neurochemistry

Cocaine has numerous effects on Many important neu-
rotransmitlers in the brain: however, the most dramatic ef-
fect is on the increase as well as the release of dopamine.

109
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Dopamine ts thought to be the primary neurotransmitter
involved in the pleasure centers of the brain. Its release is
associated with pleasure and a sense of well-being and is
often a “reward” for certain behaviors. Excessive dopa-
mine levels have also been hypothesized to be associated
with anger, aggressiveness, hallucinations, delusions, and
other psychotic symptoms.

Cocaine also initially increases levels of norepineph-
rine and serotonin, 2 other essential neurotransmitters,
Norepinephrine ts responsible for alertness, activation, in-
crease tn heart rate and blood pressure. and preparing the
body for emergencies, such as “fight-or-flight™ situations.
Serotonin is partially responsible for regulating mood, ap-
petite. and sleep, as well as other essential behaviors.
Alter repeated use of cocaine causing “instant” release
of these brain chemicals, an overall depletion of dopa-
mine, norepinephrine, and serotonin gradually occurs. A
person’s compulsive use may be an attempt to maintain
the neurotransmilters at homeostatic levels.

EFFECTS OF COCAINE USE

Initial Effects

Crack produces effects almost instantaneously, within
seconds, whereas intranasal powder cocaine may require
5 to 10 minutes to produce effects. These effects consist
of intense cuphoria, pleasure, and ecstasy. states in which
everything pleasurable is intensified. The following quotes
from patient interviews have provided useful descrip-
tions 7" including: “H's like a hurricane blast of pure
white pleasure.” These effects are followed by several min-
utes of arousal and restlessness. “It’s like you're speeding.
Moving around a lot. Talking a Jot. But the rush is gone.”
Alter approximately 5 to 20 minutes of this arousal, the
person will start lo feel irritable and uncomfortable. “T ect
restless and agitated and keep doing it. | dunno... it’s
crazy.” “It’s the most horrible depression | ever got. The
only thing to do is do more coke, but tt doesn’t help. 2.7
In an atlempt to avoid this discomfort and “recapture” the
initial high, people frequently compulsively smoke again.

Cocaine Dependence

When a patient is using cocaine excessively, there is
little difficulty in arriving at the diagnosis of cocaine de-
pendence. To satisfy the criteria for the diagnosis of
cocaine dependence. only 3 of the following conditions
must be present according to the American Psychiatric
Association’s Diagnostic and Statistical Manual of Men-
tal Disorders, Fourth Edition’:

* Developing tolerance to the euphoric effects of co-
caine and requiring more drug to produce the de-
sired effects.

* Stopping cocaine usually results in withdrawal
symptoms (such as fatigue. sleep disturbances.

110

filed 09/18/19 PagelD.1534 Page 18 of 21

agitation, or depression). and these symptoms can
be relieved by using cocaine again.

¢ Using cocaine in large amounts whenever it
isavatlable. (Seldom do people save some for later.)

* Inability to successfully reduce the amount of co-
caine one is using.

¢ Spending a great deal of time and energy obtaining
and using cocaine, which isolates one from friends
and family. and/or engaging in unlawful activities
such as shoplifting, theft, burglary, or homicide to
obtain money to buy cocaine.

* Inability to successfully maintain employment
while using cocaine because of ineffectiveness al
work, increased absentecism, inability to hold a
job, or inability to find work.

¢ Continually using cocaine despite knowing one
will develop mental symptoms, such as paranoia,
hallucinations, and delusions, and/or continually
using cocaine despite medical consequences, such
as weight loss, anemia, or seizures.

Additional psychiatric disorders can accompany the
diagnosis of cocaine dependence and can include cocaine
intoxication, cocaine withdrawal, cocaine intoxication de-
lirium, cocaine-induced psychotic disorders with halluci-
nation and/or delusions, cocaine-induced mood disorder.
cocaine-induced anxtety disorder, cocaine-induced sexual
dysfunction, and cocaine-induced sleep disorder.’

Practitioners may consider the voluntary use of cocaine
to be an issue. While voluntary use almost always occurs
the first ime cocaine Is tried. cocaine dependence invols -
ing compulsive use frequently follows. This compulsive
use is often biologically based. yet many clinicians mistak-
enly believe the cocaine user can stop using the drug when-
ever he or she wants.

In helping to understand the compulsive use found in pa-
tients with cocaine dependence, the following description
and commentary by Dr. Sidney Cohen is quite helpful:

Animals will work more avidly (by pressing a bar repeti-
uvely to obtain an intravenous “fix’’) for cocaine than any
other drug. In an unlimited access situation, monkeys will
self-administer cocaine by bar pressing for it until they die in
status epilepticus. In one study primates bar pressed 12.800
umes in order to get a single dose of cocaine. Phey will work
for cogaine tn preference to food even though they are stary-
ing. They will continue to bar press even though a receptive
female is in their cage. They will prefer an electric shock in
order to obtain a large dose of cocaine despite the fact that
they could have received a lesser dose without a shock.

Such animal cravings take place in the absence of person-
ality disorders, situation stresses, or some characterological
inadequacy. All monkeys respond tn this compulsive manner.
If humans had unlimited access to cocaine, they probably

would behave ina similar way. The highly rewarding proper-

Primary Care Companion J Clin Psychiatry 1:4, August 1999
Case 2:17-cr-20183-MAG-RSW ECF No. 343

ties of cocaine can make obsessive users of the most mature

and well integrated among us." *

Cocaine is not selective in its effects on neurochemis-
try. Besides stimulating the pleasure centers in the brain.
it at the same time activates other systems that control
arousal, survival, appetite, mood. and sleep. Although in-
tense pleasure is experienced, a person can also experience
nervousness, resUessness, agitation, suspiciousness, para-
nola, confused thinking, delirium, hallucinations, delu-
sions, violence, suicide. and homicide.

Paranoia and Psychosis

Paranoia and suspiciousness are often initial symptoms
of psychosis. Paranoia occurs in 68% to 84% of patients
using cocaine.“ Cocaine-induced paranoia can be tran-
sient, lasting a few hours’ or as long as days or weeks.’
Prior exposure to cocaine has been clinically correlated
with suspiciousness, a precursor to paranoia.” Patients
with ongoing, chronic psychiatric disorders and who use
cocaine will have more frequent hospitalizations, often
related to cocaine-induced paranoia and depression.”"" In-
tensity and rapidity of onset of paranoia have been related
to a state of “sensitization.” in which symptoms increase
over time with continued use."

Psychosis, including hallucinations and delusions, has
frequently been reported in cocaine users (from 29%° to
53% © of users). These psychotic symptoms may be related
to an imbalance of dopamine. Psychosis appears to be
more common with the use of crack compared with other
routes. such as intravenous and intranasal use.'*

Violence

Violence has been associated with cocaine use.
Cocaine-induced psychiatric symptoms undoubtedly con-
tribute to the emergence of violence. Ina study of 31 pa-
tients with cocaine-induced psychiatric symptoms, 55%
had cocaine-related violent behaviors.” In a telephone sur-
vey of 452 cocaine users, the following symptoms were
reported: anger (42%). violence (32%). and suspicious-
ness or paranoia (84% ).° Violent crimes were committed
by 46% of users, usually to get crack.” In this same report.
the authors discuss an additional study, which found that
26% of 200 crack users admitted to committing a crime
while on crack; 95% of these crimes were violent.’ The
authors of this report hypothesized that violent behavior
associated with cocaine use is predictable based on the ef-
fects cocaine has on neurotransmitter dysfunction. Besides
an increase in levels of neurotransmitters in the brain's
pleasure centers, dramatic change in levels of norepineph-
rine and serotonin in other parts of the brain might pro-
voke aggression, hyperactivity. impaired judgment, and
paranoia.

Inhalation of crack cocaine has been found to produce
a greater amount of anger and violence than intranasal use

Primary Care Companion J Clin Psychiatry 1:4, August 1999

filed 09/18/19 PagedRQud.235a pPRage,dS,ofpetns

of cocaine.'* Similarly, daily use of crack cocaine has been
associated with a greater number of illicit activities."*

Homicide. Homicide also has been associated with co-
caine use. In New York City, 31% of 2824 homicide deaths
were found to test positive for cocaine or its metabolite,
benzoylecgonine.'® A marked number of residents of New
York City (27%) who had fatal injuries also tested positive
for cocaine use. Fatal injuries secondary to homicide ac-
counted for 29% of these victims.'’ Concurrent drug use,
including alcohol and marijuana, was cited as an additional
factor in this report. Other cities have reported similar dis-
turbing findings. One study found that 18% of homicide
victims in New Orleans tested positive for cocaine."* In Los
Angeles, violent death occurred in 61% of individuals who
died and tested positive for cocaine at autopsy.!”

Suicide. Suicide can be viewed as a form of self-
destructive, violent behavior. In one study of 749 cases of
suicide in New York City, cocaine was present in 18% to
22% of cases." Suicide may be caused by depression,
which occurs frequently in people using cocaine.

Connection between violence and psychiatric symp-
toms. One investigator has postulated that cocaine may pro-
duce impatience, irritability, paranoia, and edginess lead-
ing to violent behavior-! In general, all substance use has
been associated with the inability to inhibit hostile and ag-
gressive impulses.- The neurotransmitter norepinephrine.
released by cocaine. is also involved in “fight-or-flight™ be-
havior. Individuals who use cocaine are often hyperalert
and “armed to the outside world." Any rapid or unex-
pected movement by those around them “may be inter-
preted as hostile." All of these factors may contribute
to a cocatne-violence connection.

Cocaine abusers may have problems with thinking
logically. The most frequently reported cognitive difficul-
lies involve impaired executive functioning (decision
making, judgment, attenuon/planning/mental flexibility),
and research has shown that this cognitive domain relates
primarily to the functional integrity of the prefrontal
lobe.” This area of the brain also regulates impulse con-
trol. The resultant effects would be poor judgment in an
individual experiencing impulsivity in the face of severe
cocaine craving.

Delirium

Delirium, a potentially fatal syndrome marked by
severe, fluctuating confusion and autonomic nervous sy5-
tem instability (such as severe blood pressure changes.
pulse changes, and sweating). can occur with cocaine use.
Changes in dopamine. norepinephrine, and serotonin lev-
els have been associated with these effects. Delirium can
be accompanied by psychotic symptoms (such as paranoia,
hallucinations, delusions, and agitated behavior). One re-
port noted that 7 individuals with fatal cocaine intoxication
developed an excited delirium with intense paranoia and
bizarre and violent behavior. requiring forcible restraint.

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Cocaine Withdrawal

Dr. Frank Gawin has stated that “the fundamental ef-
fect of cocaine is the magnification of the intensity of al-
most all normal pleasures.--""'*" This is an obvious rea-
son why a person repeatedly uses cocaine. However, he
has also deseribed the patterns that evolve when cocaine
is stopped: the cocaine abstinence syndrome. ‘This syn-
drome often involves a “crash” and a withdrawal phase.
During the withdrawal phase. anxiety, hostility. paranoia.
and depression have been observed.’ At this time. levels
of the neurotransmitters norepinephrine and serotonin are
thought to be significantly lowered due to the chronic
depletion caused by cocaine use. The rapid reduction in
the intensity of these withdrawal sy mptoms can constitute
a major reason a crack addict continues use.

Cocaine also has potent reinforcing effects, defined as
“any effect. positive, negative, or both that maintains the
behavior that leads to continued administration of the
drug.--P"" “Thus, the use of cocaine “rewards” certain
parts of the brain with a release of the neurotransmitter
dopamine. In this situation, the reward is a reduction or
climination of the withdrawal symptoms.

CONSIDERATIONS IN TREATING
COCAINE DEPENDENCE

Successful treatment often occurs in an outpatient set-
ung. Initially, hospitalization may be necessary to treat
withdrawal symptoms and prevent continued. compulsive
use of cocaine. Outpatient treatment can be very success-
ful: however, there are many important issues that need to
be addressed and many interventions that can be helpful
in treating drug-dependent patients.”’

Pharmacotherapy utilizing antidepressants and anticon-
vulsants, as well as dopaminergic and opioid antagonists/
mixed agonists, has been used with varying results. These
agents continue to play an uncertain role in the primary
treatment of cocaine dependence.“ Pharmacologic treat-
ments may be necessary to target secondary (cocaine-
induced) or coexistent psychiatric disorders, both of which
can complicate treatment if not addressed *""!

“Sensitization” to cocaine may add to the vecurrence of
psychiatric sy mptoms, as a person will have greater hyper-
aclivily when rechallenged with cocaine. “Kindling.” a
phenomenon in which lower doses over time produce the
same or larger undesired effect (such as seizures or hallu-
cinations), is also associated with cocaine usage.’* Kin-
dling might also be responsible for worsening of psychiat-
ric symptoms, especially psychosis!” and suspiciousness.**

The incidence of hallucinations appears to be increas-
ing secondary to an increase in cocaine dependence.
mainly crack, as evidenced by a reported incidence of hal-
lucinations associated with cocaine dependence of 18% in
1978™ compared with 96% in 1991.'° This increase would
also be consistent with a kindling model. Pharmacologic

112

agents that decrease kindling. such as valproic acid and
carbamazepine, may potentially be useful in treatment.”
All psychiatric symptoms need to be treated aggressively
to prevent them from getting worse as well as more fre-
quent. Hf suspiciousness. paranoia. and hallucinations con-
tinue after the person stops using cocaine, a dopamine
blocker, such as haloperidol, should be considered.

The reinforcing properties of cocaine leave a positive
memory of the cocaine experience. which usually over-
rides any negative memory produced by the drug. Eatin-
guishing these positive memories of pleasure and ecstasy
occurs over years through continued abstinence and inten-
sive treatment. Behavioral “cues” that stimulate intense
craving for cocaine must be learned and avoided.

Successful treatment usually involves [2-step  pro-
grams. behavioral and supportive psychotherapy. as well
as family therapy.as this ilIness affects everyone ina fam-
ily. Neurotransmitter levels must be allowed to normalize.
Recovering addicts may require initial and/or long-term
treatment with nonaddictive medications to help normal-
ize brain chemistry. All substances with potential for
abuse need to be stopped. Learning and practicing alterna-
tive, safe activities that produce pleasure and “reinforce-
ment” are essential in treatment and recovery."

Comorbidity of substance use disorders and psychiat-
ric disorders is highly likely. In the National Institute of
Mental Health Epidemiologic Catchment Area (FCA)
study, 53% of patients with a nonaleohol drug disorder
were also found to have a comorbid psychiatric disorder.”
Pharmacologic treatments are often useful to deal with
secondary (cocaine-induced) or coexistent psychiatric
disorders. both of which can complicate treatment and re-
covery if not addressed"!

‘Treatment for a person with cocaine abuse or depen-
dence requires considerable preplanning before initiation.
Practitioners need to be prepared to discuss the psychologi-
cal and physical consequences of continued use. Having a
referral network of practitioners or programs that special-
ize in the treatment of cocaine use disorders is important.
Equally important is understanding the components of the
treatment program so one can adequately explain the pro-
gram and prepare the patient. Practitioners and patients
should expect the use of nonaddictive. psychopharmaco-
logic treatments for comorbid and secondary psychiatric
disorders. Practitioners’ familiarity with current behavioral
interventions and support groups can be beneficial in pa-
tients” long-term treatment programs.

CONCLUSION

Cocaine dependence is a medical disorder of the brain
secondary to numerous changes in the brain’s complex
neurochemistry. However, chemical dependency needs to
be treated at all levels of dysfunction, including psy cho-
logical, occupational, and family. Cocaine dependence is

Primary Care Companion J Clin Psychiatry 1:4, August 1999
Case 2:17-cr-20183-MAG-RSW ECF No. 343

nota fun, voluntary activity. A person who becomes de-
pendent does not consciously set out to ruin his or her life
with this drug. It would be hard to expect a person to stop
using cocaine when it produces instantaneous joy. energy,
pleasure, and deliverance from pain, depression, and bore-
dom at the same time. Given unlimited availability and
use, cocaine addicts literally self-destruct, carrying many
people with them.

Cocaine dependence can occur in any individual re-
gardless of education level, occupation, or social class.
The instant pleasure that is experienced in most people
can lead anyone to a life of obsessive thoughts of this drug
and its compulsive use. Mental health, physical health,
family life, social activities, and occupation are usually
adversely affected.

Advances in health care are progressing rapidly and
are lending support for the biological basis of cocaine de-
pendence. The development of a vaccine to block the
pleasurable effects of cocaine is being rapidly pursued.*
Vhrough radiographic scans of the brain, dysfunctional
areas can be identified and novel treatments that target
those specific areas and symptoms may be employed in
the future.” Identification of the gene responsible for the
predisposition to addiction will ullimately happen.

Cocaine is a powerfully addictive drug that produces
numerous psychiatric symptoms. These can include agita-
tion, paranoia, hallucinations, and violence. as well as
suicidal and homicidal thinking, which left untreated will
most likely progressively worsen. Comorbid psychiatric
disorders are common and need to be identified and
treated appropriately. When practitioners are evaluating
patients presenting with unusual psychiatric symptoms or
seeing patients with psychiatric disorders that are non-
responsive to traditional treatment, cocaine use should be
considered as a potential cause.

Drug names: carbamazepine (legretol and others), haloperidol (Haldol
and others), valproic acid (Depakene).

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113
